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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                        CASE NO. 1:22-mj-117-GRJ

GABRIEL CHASE
___________________________/

                                  ORDER

     On September 20, 2022, Defendant came before the Court for his

initial appearance on charges set forth in the criminal complaint. ECF No.

1. Pursuant to the Due Process Protections Act, enacted on October 21,

2020, and the revised Federal Rule of Criminal Procedure 5(f), the Court

confirms the United States’ obligation to produce all exculpatory evidence

to Defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny, and orders the United States to do so. Failing to do so in a timely

manner may result in consequences, including, but not limited to, exclusion

of evidence, adverse jury instructions, dismissal of charges, contempt

proceeding, or sanctions by the Court.

     DONE AND ORDERED this 20th day of September 2022.

                                          s/Gary R. Jones
                                         GARY R. JONES
                                         United States Magistrate Judge
